Case 4:22-cv-11107-FKB-DRG ECF No. 35, PageID.2606 Filed 05/22/23 Page 1 of 5




              IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF MICHIGAN


 JOSHUA MURRAY, individually and on
 behalf of all others similarly situated,   Case No. 4:22-cv-11107-FKB-DRG

                                            Hon. F. Kay Behm
                   Plaintiff,               Mag. David R. Grand

       v.

 NATIONAL ASSOCIATION OF
 REALTORS,

                   Defendant.


       PLAINTIFF’S NOTICE OF SUPPLEMENTAL AUTHORITY
Case 4:22-cv-11107-FKB-DRG ECF No. 35, PageID.2607 Filed 05/22/23 Page 2 of 5




      Plaintiff, individually and on behalf of all others similarly situated, submits

this notice of supplemental authority to apprise the Court of a recent decision

relevant to the issues raised in Plaintiff’s response in opposition (ECF No. 33) to

Defendant’s motion to dismiss (ECF No. 31):

      1.     On May 19, 2023, the Honorable Bernard A. Friedman issued a

decision denying the defendant’s motion to dismiss in Nock v. Boardroom, Inc. d/b/a

Bottom Line, Inc., Case No. 2:22-cv-11296-BAF-EAS, ECF No. 27 (E.D. Mich.

May 19, 2023), a PPPA action similar to the instant matter. A copy of the Nock

decision is attached hereto as Exhibit A.

      2.     In Nock, the court held that “Article III standing poses no obstacle to

[Plaintiff’s] PPPA claim” in light of the Sixth Circuit’s controlling decision in

Coulter-Owens v. Time Inc., 695 F. App’x 117 (6th Cir. 2017) and the “district courts

in this circuit [that] have consistently followed Coulter-Owens[.]” See Nock, at 7

(collecting cases).

      3.     The court in Nock also held that the six-year limitation period found in

M.C.L § 600.5813 applied to plaintiff’s PPPA claim. See id., at 8 (noting that

“countless opinions” from Michigan’s federal courts have “yielded the same

outcome – that the PPPA’s limitation period is six years”).

      4.     Finally, the court found that the complaint’s allegations – which are less

detailed than the allegations of the operative complaint in this case – “are more than


                                            1
Case 4:22-cv-11107-FKB-DRG ECF No. 35, PageID.2608 Filed 05/22/23 Page 3 of 5




adequate to show that [the defendant] plausibly violated the PPPA[.]” Id., at 9. The

court rejected the defendant’s argument, also made by Defendant in this case, that

“the screenshot of NextMark’s website is not particularized enough to support

[plaintiff]’s allegations,” finding that “[t]his argument misconceives how pleadings

are evaluated on a Rule 12(b)(6).” Id., at 10 (explaining that “no ‘evidentiary

support’ – whether ‘in an affidavit or any other form’ – is necessary ‘for a claim to

be plausible’”) (quoting Gallivan v. United States, 943 F.3d 291, 293 (6th Cir.

2019)). Thus, the court found the decision in Nashel v. N.Y Times Co., No. 22-10633,

2022 U.S. Dist. LEXIS 185552 (E.D. Mich. Oct. 11, 2022) – which Defendant relies

heavily upon in its motion to dismiss here – “unpersuasive” for the same reason. See

id., at 11 (citing Gaines v. Nat’l Wildlife Fed’n, No. 22-11173, 2023 U.S. Dist.

LEXIS 75317, at *20-23 (E.D. Mich. May 1, 2023)). Accordingly, the court denied

the defendant’s motion to dismiss in its entirety. See id. (“Because [plaintiff] states

a plausible claim for relief under the PPPA – even without the embedded NextMark

screenshot – her allegations are alone sufficient to withstand Rule 12(b)(6)

scrutiny.”).


Dated: May 22, 2023                     Respectfully submitted,
                                        /s/ E. Powell Miller
                                        E. Powell Miller (P39487)
                                        THE MILLER LAW FIRM, P.C.
                                        950 W. University Drive, Suite 300
                                        Rochester, MI 48307
                                        Tel: 248-841-2200

                                          2
Case 4:22-cv-11107-FKB-DRG ECF No. 35, PageID.2609 Filed 05/22/23 Page 4 of 5




                                   epm@millerlawpc.com
                                   Joseph I. Marchese
                                   Philip L. Fraietta (P85228)
                                   BURSOR & FISHER, P.A.
                                   888 Seventh Avenue
                                   New York, New York 10019
                                   Tel: 646.837.7150
                                   Fax: 212.989.9163
                                   jmarchese@bursor.com
                                   pfraietta@bursor.com

                                   Frank S. Hedin
                                   David W. Hall
                                   HEDIN HALL LLP
                                   1395 Brickell Avenue, Suite 1140
                                   Miami, Florida 33131
                                   Tel: 305.357.2107
                                   Fax: 305.200.8801
                                   fhedin@hedinhall.com
                                   dhall@hedinhall.com
                                   Counsel for Plaintiff and the Putative Class




                                      3
Case 4:22-cv-11107-FKB-DRG ECF No. 35, PageID.2610 Filed 05/22/23 Page 5 of 5




                          CERTIFICATE OF SERVICE

      I hereby certify that on May 22, 2023, I electronically filed the foregoing

documents using the Court’s electronic filing system, which will notify all counsel

of record authorized to receive such filings.


                                       /s/ E. Powell Miller
                                       E. Powell Miller (P39487)
                                       THE MILLER LAW FIRM, P.C.
                                       950 W. University Dr., Ste. 300
                                       Rochester, MI 48307
                                       Tel: (248) 841-2200
                                       epm@millerlawpc.com
